                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS


  CORNERSTONE ASSURANCE GROUP,
  INC.,

                Plaintiff,

                v.                                 Case No. 1:17-cv-04718

  DANIELLE HARRISON,

                Defendant.


                     DEFENDANT’S MOTION FOR ATTORNEYS’ FEES

     Danielle Harrison moves this Court for an Order determining that she is entitled to

  attorneys’ fees from Cornerstone Assurance Group, Inc. (“Cornerstone”) under three

  statutory provisions, 765 ILCS 1065/5(i) and FLA. STAT. §§ 607.0850(3) and (9)(c).

I.   INTRODUCTION

     On its face, this case resembles many other employment disputes. Employee signs a

  non-compete contract. The relationship ends. Employer sues. Employer says clients left

  because of employee’s breach of the contract and disclosure of trade secrets. But this

  case is far different than those where an employer has actual facts, even if loosely tied

  together, that support plausible legal claims. Here, two quick phone calls by

  Cornerstone would have stopped any thought of litigation dead in its tracks. In other

  words, had Cornerstone simply called the two clients it felt Harrison improperly

  solicited, it would have discovered quickly just how they came to leave Cornerstone for

  another insurance broker. What’s more, the facts Cornerstone left out of the Complaint

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   show just how irresponsible its case against Harrison was. Harrison is entitled to legal

   fees on three grounds.

      First, Cornerstone asserted its trade secrets misappropriation claim against Harrison

   in bad faith. Simply put, Cornerstone made no good-faith effort to determine whether

   its claims had factual support, revealing that this litigation resembled an abuse of

   process. Second, the Florida Business Corporation Act requires Cornerstone―a Florida

   corporation―to indemnify Harrison for the legal expenses she incurred in successfully

   defending herself for an action connected to her employment service. FLA. STAT. §

   607.0850(3). And third, if the Court finds indemnification is not required, Florida

   statutory law alternatively permits the Court to consider “all the relevant circumstances”

   in determining that Harrison is “fairly and reasonably entitled to indemnification” in

   this proceeding. FLA. STAT. § 607.0850(9)(c).

II.   PROCEDURAL HISTORY

      Cornerstone’s lawsuit claims that Harrison breached restrictive covenants in an

   Employment Agreement and violated the Illinois Trade Secrets Act, 765 ILCS 1065/1 et

   seq. (“ITSA”). (Doc. 1). In the Complaint, Cornerstone identified the accounts that it felt

   Harrison was soliciting improperly as “union clients and their members.” (Doc. 1, ¶¶

   40-43). Cornerstone also said that Harrison disclosed trade secrets to “third-parties,

   including Cornerstone’s competitors.” (Doc. 1, ¶ 52). In particular, Cornerstone alleged

   that Harrison supplied her husband, Micah, with trade secrets about clients and that

   those clients then switched their insurance business to Micah’s company, USI Insurance

   Services, LLC (“USI”). (Doc. 1, ¶¶ 32-37). Cornerstone told the Court that Harrison

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       engaged in this conduct before and after Cornerstone terminated her. (Doc. 1, ¶¶ 2, 32, 40,

       52).

          Harrison moved to dismiss. (Doc. 11). Cornerstone resisted, doubling down on its

       theory that Harrison disclosed confidential information about union clients and their

       members to her husband, Micah, so that he could use the information for USI. (Doc. 16,

       pp. 3-4). After the Court denied Harrison’s motion, Harrison answered. (Doc. 20). She

       then retained new counsel and served her initial disclosures under Federal Rule of Civil

       Procedure 26(a)(1) the next day. (Ex. 1 (Def’s Rule 26(a)(1) Initial Disclosures dated

       12/7/17)).

          It was just a week later when Cornerstone moved for a voluntary dismissal of the

       whole case with prejudice. (Doc. 29). Granting the motion, the Court stated that “[i]f

       either party intends to purse [sic] fees or costs they may motion the Court routinely.”

       (Doc. 37). Harrison has filed this motion within the 14-day period required by Federal

       Rule of Civil Procedure 54(d)(2)(B)(i).

III.      RELEVANT EVIDENCE

          This case involves insurance brokerage services provided to two local unions in

       North Platte, Nebraska. Around ten years ago, Micah Harrison (Danielle’s husband)

       sold a disability insurance policy to two local chapters of the Brotherhood of

       Locomotive Engineers and Trainmen (“BLET”). (Ex. 2 (Decl. of W. Elliott), ¶¶ 4-5; Ex. 3

       (Decl. of M. Harrison), ¶¶ 4-6). This benefit is vital to railroad workers―the BLET’s

       members earn their keep on the Union Pacific Railroad―because they protect those

       workers’ incomes if they become disabled. (Ex. 2, ¶ 5; Ex. 4 (Decl. of T. Kuenning), ¶ 6).

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   Micah knew the leaders of the Local 88 and Local 388, Bill Elliott and Travis

Kuenning respectively, and helped their members obtain this disability policy. (Ex. 2,

¶¶ 5-6; Ex. 3, ¶¶ 6-7; Ex. 4, ¶¶ 5-6). It was the first of its kind within the Local 88 and

388 districts. (Ex. 2, ¶ 6). Around 2013, Micah spoke with a Cornerstone principal

named Ed Haley. (Ex. 3, ¶ 8). Micah learned Cornerstone was offering a comparable

disability plan to the entire Union Pacific Railway. (Ex. 3, ¶ 9). Though Micah could not

partner with Cornerstone to split commissions, he understood Cornerstone was offering

a good disability insurance product for the entire BLET union. (Ex. 3, ¶ 10). He also

focused on selling other types of insurance and was aware the BLET’s National

Committee likely would switch to Cornerstone. (Ex. 3, ¶ 10).

   When Cornerstone ran into some resistance with the Local 88 and Local 388, Micah

paved the way for Cornerstone and assured the BLET officers that Cornerstone was

delivering a good product at rates better than those Micah’s company could obtain. (Ex.

2, ¶ 12; Ex. 4, ¶ 9). It was at this point that Cornerstone hired Danielle Harrison. (Ex. 2, ¶

13; Ex. 5 (Decl. of D. Harrison), ¶¶ 3-4). Danielle’s job with Cornerstone was to help

enroll union members into insurance plans that Cornerstone offered. (Ex. 5, ¶ 4).

Danielle continued this work through the end of 2016 and, during this time, was not

responsible for soliciting new union client work for Cornerstone. (Ex. 5, ¶ 10-11).

   Things started to go awry for Cornerstone in late 2016 when it experienced

substantial rate increases. (Ex. 2, ¶ 8; Ex. 4, ¶¶ 13, 15; Ex. 5, ¶ 13). Danielle made

presentations to the Local 88 and 388 on behalf of Cornerstone, but faced push-back

from both chapters because of the high rates. (Ex. 5, ¶¶ 13-16). In the face of these rate

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increases and pressure from their BLET members, both Elliott and Kuenning started to

shop the insurance business around to get the Local 88 and Local 388 a better deal. (Ex.

2, ¶¶ 11-12; Ex. 4, ¶¶ 14-16; Ex. 5, ¶ 16). Danielle never encouraged either of them to

look to Micah for a better option. (Ex. 2, ¶ 15; Ex. 4, ¶ 20). Naturally, though, both did in

fact turn to Micah, who had sold them their original disability policy for BLET members

and then facilitated a smooth transition a few years later to Cornerstone. (Ex. 2, ¶¶ 13-

16; Ex. 4, ¶¶ 16-19). Micah even suggested to Kuenning in late 2016 that the Local 388

stay with Cornerstone until the contract was up. (Ex. 4, ¶ 19).

   But both BLET chapters needed to do what was best for their members. Elliott and

Kuenning sent Micah a member age census (basically, a client list), data indispensable

to Micah for developing proposals. (Ex. 2, ¶ 17; Ex. 3, ¶¶ 17-21; Ex. 4, ¶ 21). The e-mails

Micah received from both Elliott and Kuenning confirm they sent him the union

member information needed to quote business, and that Danielle had nothing to do

with it. (Ex. 3, ¶¶ 17-39 (and referenced Exhibits A-E)). Because Elliott and Kuenning

sought Micah out, Micah did not rely on Danielle for any union member information or

assistance when quoting them new disability policies. (Ex. 3, ¶¶ 16, 41-43, 47).

   Both Elliott and Kuenning corroborate this and have testified that Danielle did not

encourage either the Local 88 or Local 388 to switch insurance brokers from

Cornerstone to Micah’s company, USI. (Ex. 2, ¶ 18; Ex. 4, ¶ 20). Their decisions were

based entirely on Cornerstone’s “through the roof” rate increases, the direction they

received from BLET members to obtain more affordable insurance quotes, and their

prior relationship with Micah. (Ex. 2, ¶¶ 14-21; Ex. 4, ¶¶ 15-23). Cornerstone never

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      sought to contact either Elliott or Kuenning to find out why Cornerstone lost the

      business to Micah’s company. (Ex. 2, ¶ 23; Ex. 4, ¶ 25). It simply sued Danielle.

IV.      ARGUMENT

         A. Because Cornerstone initiated its trade secrets claim against Danielle in bad
            faith, she is entitled to her fees as the prevailing party.

         Section 5(i) of the ITSA allows a prevailing party to recover attorneys’ fees if “a

      claim of misappropriation is made in bad faith.” 765 ILCS 1065/5(i). A claim is “made

      in bad faith when it is initiated in bad faith, maintained in bad faith, or both.” Tradesman

      Int’l, Inc. v. Black, 724 F.3d 1004, 1016 (7th Cir. 2013).

             1. Danielle is a “prevailing party.”

         Danielle first must establish that she is a “prevailing party.” 765 ILCS 1065/5(i). This

      action terminated after Cornerstone moved for a voluntary dismissal with prejudice.

      (Docs. 29, 37). Entry of a with-prejudice dismissal order, even when a plaintiff seeks

      such an order voluntarily, renders the defendant a “prevailing party.” Riviera

      Distributors, Inc. v. Jones, 517 F.3d 926, 928 (7th Cir. 2008) (holding dismissal under

      Federal Rule of Civil Procedure 41(a)(2) makes defendant the prevailing party).

             2. The ITSA’s standard for determining bad faith.

         Danielle next turns to the appropriate bad-faith standard. In Conxall Corp. v. iCONN

      Systems, LLC, 2016 IL App (1st) 140158, ¶ 99, the Appellate Court of Illinois held that

      “bad faith” in an ITSA action hinges on “(1) whether the pleadings, motions and other

      papers which were filed by the party violated [Supreme Court Rule] 137 or (2) whether

      the party’s other conduct during the course of the litigation ran afoul of the underlying


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purpose of Rule 137, which is ‘to prevent abuse of the judicial process by penalizing

claimants who bring vexatious and harassing actions’ or violated other court rules.”

Conxall makes clear that though Rule 137 guides the bad-faith test, that test is not

“coterminous” with Rule 137 alone. Id.1

    Illinois Supreme Court Rule 137 is the state-law version of Federal Rule of Civil

Procedure 11. Burda v. M. Ecker Co., 2 F.3d 769, 772 (7th Cir. 1993). By its plain terms,

Rule 137 prohibits the filing of pleadings or motions that are not “well grounded in

fact.” ILL. S. CT. R. 137(a). Similarly, Rule 11 states that “factual contentions” must have

“evidentiary support” or “likely will have evidentiary support after a reasonable

opportunity for further investigation or discovery.” FED. R. CIV. P. 11(b)(3).

        3. Cornerstone had no evidence on which to sue Danielle for trade secrets
           theft.

    Danielle argues that Cornerstone began this action in bad faith not because the law

fails to recognize the substantive claims in the Complaint; rather, she does so because

Cornerstone never conducted even a rudimentary investigation that would lend those

claims some evidentiary support.

    Because the bad-faith test hinges on a Rule 11-type analysis, it is appropriate to

consider a plaintiff’s duty to investigate. On that score, a failure to investigate the basis

for a claim brings Rule 11 directly “into play.” Shrock v. Altru Nurses Registry, 810 F.2d

658, 661 (7th Cir. 1987). As the Seventh Circuit has stated, it “is not permissible to file

suit and use discovery as the sole means of finding out whether you have a case.


1To determine the majority opinion as to the appropriate bad-faith test, the Court must examine Justice
Rochford’s and Justice Hoffman’s opinions. Conxall, 2016 IL App (1st) 140158, ¶¶ 99, 108.

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Discovery fills in the details, but you must have the outline of a claim at the beginning.”

Szabo Food Serv., Inc. v. Canteen Corp., 823 F.2d 1073, 1083 (7th Cir. 1987).

   Applying these principles, Cornerstone had a duty to conduct a reasonable inquiry

to determine whether Danielle funneled the Local 88 and Local 388 work to Micah or

provided him trade secrets about those clients. That inquiry extended to calling Elliott

and Kuenning, an obvious precursor to sue. Put another way, it was unreasonable for

Cornerstone simply to assume that the Local 88 and Local 388 left Cornerstone because

Danielle did something improper as its employee. See Autotech Corp. v. NSD Corp., 125

F.R.D. 464, 470 (N.D. Ill. 1989) (noting party should corroborate its beliefs “by

interviewing available witnesses and reviewing accessible documents.”). Cornerstone’s

failure to investigate its claims by contacting Elliott or Kuenning rises to the level of bad

faith for three reasons.

   First, Cornerstone knew that Micah had a prior relationship both with the Local 88

and Local 388. (Ex. 2, ¶¶ 8-10). To be sure, Micah helped Cornerstone solidify the Local

88 and Local 388 business, information casually omitted from the Complaint. (Ex. 2, ¶

12; Ex. 4, ¶ 9). This fact, surely known to Cornerstone at the inception of this suit,

should have led Cornerstone to avoid assuming that Micah resumed working with

those clients just because Danielle somehow acted improperly and violated a duty of

loyalty. Put differently, when Cornerstone sued, it was plausible (if not extremely

likely) that the clients sought Micah out to get competitive quotes. The marital

relationship between Micah and Danielle did not provide Cornerstone with grounds to



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run into court. If Cornerstone was so worried that Danielle was married to someone

who was in the same line of work, it never should have hired her.

   Second, Cornerstone was aware it had experienced substantial rate increases for its

disability benefits work. It must have known, then, that clients like Elliott and Kuenning

may have been seeking competitive quotes from other entities when they switched to

USI. The clients’ decisions here to move the business away from Cornerstone was

foreseeable. Local 88 and 388 sought out Micah; they did not owe Cornerstone blind

fealty. Cornerstone used the veneer of a lawsuit, with no evidentiary basis, to blame

Danielle for client attrition she never caused.

   Third, nothing suggests Cornerstone needed to invoke legal process to discover

relevant facts. Instead, it had a simple way to find out whether Danielle acted

improperly. Cornerstone could have called Elliott and Kuenning and asked them what

occurred with the loss of business. But it failed to do so. (Ex. 2, ¶ 23; Ex. 4, ¶ 25). Haley

(of Cornerstone) even told Elliott that the Local 88 could not “go through Micah for

disability insurance” because of Danielle’s Employment Agreement. (Ex. 1, ¶ 22). If

anything, that admission proves an anticompetitive intent. Cornerstone, it appears, was

more interested in deploying non-sensical threats to retain customers artificially than in

finding out just why the clients left in the first instance.

   This is a case about Cornerstone turning a blind eye away from the most plausible

scenario known to it: rate increases caused clients to seek Micah out for help. The

factual allegations against her stemmed from a non-existent investigation, a host of

illogical assumptions, and ignorance of relevant facts about Micah’s prior involvement

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with the Local 88 and Local 388. Put another way, this case was almost painfully easy to

avoid. But now Danielle and Micah Harrison have incurred nearly $45,000 in legal fees

to extricate themselves from a suit that Cornerstone never should have filed. The Court

should thus determine that Cornerstone acted in bad faith in initiating its trade secrets

claims against Danielle.

   B. Because Danielle was successful in defending an action brought “by reason
      of” her Cornerstone employment, Cornerstone must indemnify her from legal
      expenses under Section 607.0850(3) of the Florida Business Corporation Act.

   Cornerstone is a Florida corporation. (Doc. 1, ¶ 4). The Florida Business Corporation

Act (“FBCA”) “regulates the structure and activity of Florida corporations.” Banco

Industrial De Venezuela C.A., Miami Agency v. De Saad, 68 So.3d 895, 898 (Fla. 2011). The

Court thus must examine the FBCA to determine what indemnification obligations

Cornerstone may have to Danielle.

       1. Harrison was “successful on the merits or otherwise” in defending
          Cornerstone’s action against her.

   Section 607.0850(3) of the FBCA entitles Danielle to receive her legal fees for the

successful defense of all claims in the Complaint. That provision says:

              To the extent that a director, officer, employee, or agent of a
              corporation has been successful on the merits or otherwise in
              defense of any proceeding referred to in subsection (1) or
              subsection (2), or in defense of any claim, issue or matter
              therein, he or she shall be indemnified against expenses
              actually and reasonably incurred by him or her in
              connection therewith.

FLA. STAT. § 607.0850(3) (emphasis added). The FBCA defines the term “expenses” to

include “counsel fees.” FLA. STAT. § 607.0850(11)(b).


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   The referenced phrase “subsection (1) or subsection (2)” in the quoted

indemnification provision identifies different classes of indemnifiable claims.

Subsection (1) concerns third-party actions, while subsection (2) covers actions like this

case, ones pursued “by or in the right of the corporation to procure a judgment in its

favor by reason of the fact that the person is or was a director, officer, employee, or

agent of the corporation…” FLA. STAT. § 607.0850(2).

   Although subsections (1) and (2) confer only permissive indemnity rights that

Cornerstone may extend, subsection (3) is mandatory. That is, the Court needs only to

evaluate whether Danielle was “successful on the merits or otherwise.” Danielle

succeeded in defending Cornerstone’s claims because she obtained a with-prejudice

dismissal of the action. It would be incongruous to find that Danielle is the “prevailing

party”―a finding mandated by Riviera Distributors―but not “successful” in her defense

of this lawsuit. See Wisener v. Air Express Int’l Corp., 583 F.2d 579, 583 (2d Cir. 1978)

(holding corporate officer was entitled to mandatory indemnification because he

achieved success “on the merits or otherwise” when a case was terminated by mutual

consent and “never proceeded to trial.”).

       2. Cornerstone brought this action “by reason of the fact” Danielle was its
          employee.

   The claims Cornerstone asserted against Danielle are indemnifiable under Section

607.0850(3). That is, the alleged wrongdoing arose because of her service to Cornerstone

and during her employment with Cornerstone. (Doc. 1, ¶¶ 29-30, 49-50). The Supreme

Court of Florida has avoided interpreting the “by reason of the fact” language pertinent


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to the Section 607.0850(3) inquiry. In Banco Industrial, the Court held that a corporate

officer was not entitled to indemnification under Section 607.0850(3) after she pleaded

guilty to a money structuring crime but was acquitted of related money laundering and

conspiracy charges. Banco Industrial, 68 So.3d at 896-97. The Court rejected the officer’s

indemnity claim, stating that “she was prosecuted for her conduct, not on account of

her position.” Id. at 900. The Court said nothing else about how to interpret the statute.

   Of course, the facts of Banco Industrial could not be more different from those here.

Danielle did not act “contrary to corporate policy,” criminally, or in bad faith, factors

indispensable to the holding in Banco Industrial. Id. Instead, Cornerstone’s contract and

statutory claims, both linked inextricably with trade secret disclosure, arose because of

Danielle’s position as a Cornerstone employee and as an extension of her day-to-day

employment. (Doc. 1, ¶¶ 2, 32, 40, 52). To be sure, Cornerstone sued Danielle on account

of her employment status and her relationship to Micah, not for conduct incidentally

related to her job duties that resulted in trade secret disclosure. No fact even suggests

she engaged in conduct that arose from her employment, but which was barred by a

common-law duty, a contractual provision, or some corporate policy.

   Courts interpreting similar state laws have found that an agent’s alleged misuse of

trade secret information falls within the same “by reason of the fact” language in the

FBCA. See James River Mgmt. Co., Inc. v. Kehoe, 674 F. Supp. 2d 745, 751 (E.D. Va. 2009)

(involving claims for breach of fiduciary duty and trade secret misappropriation; noting

officer “allegedly used his ‘entrusted corporate powers’ to form the knowledge and

expertise required to assemble a competing company. He then allegedly organized the

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appropriation of [plaintiff]’s trade secrets and lured key personnel away from James

River.”); Brown v. LiveOps, Inc. 903 A.2d 324, 328-30 (Del. Ch. 2006) (holding

advancement of legal expenses required after corporation sued co-founder for trade

secret misappropriation related to his formation of a competing business). Consistent

with these authoritative decisions, the Seventh Circuit has found that Delaware’s “by

reason of the fact” language “is broad enough to encompass suits against a director in

his official capacity as well as suits against a director that arise more tangentially from

his role, position, or status as a director.” Heffernan v. Pacific Dunlop GNB Corp., 965 F.2d

369, 375 (7th Cir. 1992).

   The facts of this action present a far more compelling case for indemnification than

James River and Brown. The claimed wrongdoing occurred before Danielle was fired on

the erroneous assumption that she engaged in misconduct, as an employee, for her

spouse’s benefit. (Ex. 5, ¶¶ 21-27). Cornerstone’s allegations of improper pre-

termination activity echo those cases involving a breach of the duty of loyalty, a

pleading distinction that is immaterial for indemnity purposes. See Pontone v. Milso

Industries Corp., 100 A.3d 1023, 1052-54 (Del. Ch. 2014) (stating substance of allegations,

rather than label of claim, matters for “by reason of the fact” analysis). And to that end,

claims where the underlying conduct involves a breach of the duty of loyalty provide

the causal nexus needed to vest an employee’s mandatory indemnification rights. See

Waskel v. Guaranty Nat. Corp., 23 P.3d 1214, 1220 (Colo. Ct. App. 2000) (finding former

officers and employees satisfied “by reason of the fact” standard when they defended

claims for breach of fiduciary duty by former employer).

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   C. The Court, alternatively, should determine that the relevant circumstances
      warrant indemnification under Section 607.0850(9)(c) of the FBCA.

   The FBCA also enables the Court to grant Danielle indemnification if it determines

that she is “fairly and reasonably entitled to indemnification…of expenses…in view of

all the relevant evidence, regardless of whether [Danielle] met the standard of conduct

set forth” in subsections (1), (2), and (7) of Section 607.0850. FLA. STAT. § 607.0850(9)(c).

Subsections (1) and (2) contain the “by reason of the fact” requirement previously

discussed, while subsection (7) outlines conduct standards inapplicable here.

   So even if the Court found that Danielle were not entitled to indemnification

through subsection (3), the Court still may make her whole for defending this action.

The same reasons that support an award of attorneys’ fees under other statutory

provisions merit such a discretionary award. Cornerstone lodged indiscriminate

allegations of trade secret theft against Danielle without ever trying to determine

whether those allegations had some plausible basis. This is a serious matter.

   Trade secrets theft is a crime. See 18 U.S.C. § 1832(a) (allowing imprisonment for

trade secrets theft for up to 10 years). Danielle’s name is now linked forever―through

just a basic PACER search―with a workplace felony. That most assuredly functions like

a Scarlet Letter, particularly in an era when access to information is beyond prevalent

and employers are increasingly careful about whom they hire. After defeating a

baseless prosecution, former Secretary of Labor Raymond Donovan famously asked:

“Which office do I go to to get my reputation back?” Robert D. Behn, Rethinking

Democratic Accountability, at 5 (Brookings Institution 2001). Harrison knows where: here.


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  That this case dithered away quietly provides her only a modest degree of solace.

  Section 607.0850 of the FBCA applies, even if infrequently, “in a case such as this one

  where a corporation has sued its own agent.” Turkey Creek Master Owners Ass’n, Inc. v.

  Hope, 766 So.2d 1245, 1247 (Fla. Dist. Ct. App. 2000). In fact, if there is any case when it

  should apply with full force, this is the one. Danielle cares more about her reputation

  than Cornerstone does about instituting a baseless lawsuit. The Court should award

  Danielle fees because, given the evidence provided, she is “fairly and reasonably

  entitled” to be made whole in this proceeding. FLA. STAT. § 607.0850(9)(c).

     D. Danielle has provided a fair estimate of the legal fees she has incurred.

     Federal Rule of Civil Procedure 54(d)(2)(iii) requires Danielle to “state the amount

  sought or provide a fair estimate” of her attorneys’ fees. FED. R. CIV. P. 54(d)(2)(B)(iii).

  As the attached Declaration confirms, the fees and costs Danielle incurred in this action,

  exclusive of fees arising after this motion, amount to $43,539.90. (Ex. 6 (Decl. of K.

  Vanko), ¶ 6). Because Danielle is entitled to indemnification under Section 607.0850(3),

  the Court should include fees “incurred in seeking court-ordered indemnification.” FLA.

  STAT. 607.0850(9)(a). If the Court grants Danielle’s motion, then under Local Rule 54.3,

  the parties must meet and confer over the proper amount of fees. Rohr-Gurnee Motors,

  Inc. v. Patterson, No. 03 C 2493, 2004 WL 422525, at *1 (N.D. Ill. Feb. 9, 2004).

V.   CONCLUSION

     For the reasons stated, Danielle Harrison requests an Order determining that she is

  entitled to her attorneys’ fees in this action.



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Dated: May 16, 2018
                                      Respectfully submitted,

                                      DANIELLE HARRISON

                               By:    /s/ Kenneth J. Vanko
                                      Attorney for Danielle Harrison

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                               CERTIFICATE OF SERVICE

   I certify that on May 16, 2018, I caused Defendant’s Motion for Attorneys’ Fees to be
served on the following counsel via e-mail:

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